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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO


ACUITY, A MUTUAL INSURANCE COMPANY,

       Plaintiff,

v.                                                         No. 1:21cv00854

LBJ ENTERPRISES, LLC

       Defendant.

                     COMPLAINT FOR DECLARATORY JUDGMENT
       Plaintiff Acuity, A Mutual Insurance Company (“Acuity”), hereby brings this Complaint
for Declaratory Judgment against LBJ Enterprises, LLC and alleges as follows:

                                        THE PARTIES

       1.      Plaintiff Acuity, a mutual insurance company, is a foreign corporation with its

statutory home office located in Wisconsin. Acuity does business in the State of New Mexico and

has complied with registration laws of the State of New Mexico pertaining to corporations engaged

in the insurance business.

       2.      Defendant LBJ Enterprises, LLC (“LBJ”) is a Delaware organized Limited

Liability Company with its principal place of business in Lake Havasu City, Arizona. LBJ has

two members: Jarett Portz and Mountain West Enterprises, LLC.

       3.      The Managing Member of LBJ is Jarett Portz who is a resident and citizen of the

State of Arizona.

       4.      Mountain West Enterprises, LLC is an Arizona organized LLC with two members:

Les Lamastus and Brenda Lamastus. Les and Brenda Lamastus are residents and citizens of the

State of Missouri.

       5.      LBJ owns and operates car washes located in several states including New Mexico.

                               JURISDICTION AND VENUE

       6.     The Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332.
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        7.      There is complete diversity of citizenship as to all parties and the amount in

controversy exceeds the sum of $75,000, exclusive of interest and costs.

        8.      The claims at issue in this action arose in the District of New Mexico. Venue is,

therefore, proper in this Court pursuant to 28 U.S.C. § 1391.

        9.      Declaratory relief is requested pursuant to 28 U.S.C. § 2201.

        10.     There is an actual justiciable controversy between Acuity and LBJ regarding

whether a claim LBJ submitted to Acuity is covered under a policy Acuity issued to LBJ covering

property located at 9210 Eagle Ranch Road, N.W. Albuquerque, New Mexico. Consequently, this
Court is vested with the power to declare and adjudicate the rights and other legal relationships of

all parties to the instant litigation with respect to the issues raised by this Complaint.

                                   GENERAL ALLEGATIONS

The Insurance Policy Issued by Acuity

        11.     LBJ applied for an insurance policy through its agent Kimberly Portz who is the

sister of Jarett Portz.

        12.     In its application for insurance, LBJ represented that it operated Car Washes that

were not self-service. When asked whether any of the car wash bays allowed the customer to

manually wash their own vehicle, LBJ responded “No”.

        13.     The type of risk is material to whether Acuity elects to insure a property and Acuity

relies on applications in determining whether or not to issue policies.

        14.     Replying on its statements contained in the application, Acuity issued LBJ a

business policy ZA9951 to Named Insured LBJ Enterprises with a policy period of October 26,

2020 to September 1, 2021 (hereafter the Policy”). A copy of the Policy is attached hereto as

Exhibit A.

        15.     The Policy covers several locations including property located at 9210 Eagle Ranch

Road, Albuquerque, New Mexico (the “Eagle Ranch Location”).

        16.     The Classification Description for each of the locations insured under the Policy is

Car Washes – Not Self Service.

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LBJ’s Operations at the Eagle Ranch Location

       17.     The Car Wash at 9210 Eagle Ranch Road includes four self-serve bays in addition

to one automatic bay.

       18.     LBJ ceased operations at the Eagle Ranch Location in May 2019.

       19.     LBJ did not notify Acuity that it had ceased operations at the Eagle Ranch Location

and Acuity did not know that LBJ had ceased operations at the Eagle Ranch Location until after

January 20, 2021.

       20.     LBJ did not disclose to Acuity that the business at the Eagle Ranch Location
included self-service car washes.

       21.     Acuity would not have issued the Policy to LBJ had it known that LBJ operated

self-service car washes.

       22.     Acuity would not have insured the Eagle Ranch Location if it knew it was a vacant

building with no ongoing operations.

The Fire

       23.     On January 20, 2021 a fire at 9210 Eagle Ranch Road was reported to the

Albuquerque Fire Department.

       24.     At the time of the fire, the building had been inhabited by transients with sleeping

areas located within the building.

       25.     Prior to the date of the fire, LBJ was notified that transients were occupying the

building and equipment at the property had been removed and/or destroyed. Graffiti and trash

including drug paraphernalia was present throughout the building.

       26.     Prior to the fire, electrical wiring and other equipment had been removed from the

building.

       27.     Acuity’s investigation of the fire concluded that the fire originated in two distinct

and non-communicating areas. The ignition source was determined as a probable handheld flame

and the ignitions sequence was an intentional human act. The Cause Classification of the fire is

incendiary.

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        28.      The intentionally set fire at the Eagle Ranch Location is vandalism.

        29.      At the time of the fire, the Eagle Ranch Location was not under construction or

renovation.

The Claim and Relevant Policy Provisions

        30.      The Acuity Policy provides:




CB-0002(1-19) at page 1.

        31.      The policy further provides:




Id. at page 3.

        32.      Policy Exclusions include:

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Id. at page 18.

        33.       Policy Conditions also include the following conditions:




        34.       The Property Loss Conditions include a vacancy provision providing




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CB-0002(1-19) at pages 26-27.

       35.      LBJ reported the loss to Acuity and provided Acuity with a sworn completed Proof

of Loss form.

       36.      The Proof of Loss form itself clearly states that “the information you provide,

including the additional documentation material, will be used by us in processing your claim.”
       37.      On the second page of the Proof of Loss, it states that whoever signs the Proof of

Loss has “not made claim for any property not damaged by this loss” and has not “attempted to

nor [has] deceived or defrauded Acuity.”

       38.      The insured who signs the Proof of Loss form then swears, under penalty of perjury,

that they have “read and completed the above sworn statement in Proof of Loss, including any

attachments, and that the information given by me is true and correct.”

       39.      Finally, before signature, the form states in bold letters, “CAUTION:

FURNISHING FALSE INFORMATION MAY RESULT IN DENIAL OF YOUR CLAIM.”

       40.      The Proof of Loss included $810,256.23 in claimed damages.

       41.      Following receipt of the Proof of Loss, Acuity completed an Evaluation Under Oath

(“EUO”) of both Jarett Portz and Les Lemastus.

       42.      Mr. Portz signed the Proof of Loss and represented on the Proof of Loss form that

before the loss there was no change in the interest, use or occupancy of the buildings and their

contents. The representation was false as the property had been vacant for more than a year prior

to the fire. The representation was also false because many contents of the building had been

removed prior to the fire.

       43.      At their EUOs both Mr. Portz and Mr. Lemastus confirmed that the Eagle Ranch

Location was vacant for well over sixty days prior to the fire.

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         44.   Mr. Lemastus also admitted that some items listed in the sworn Proof of Loss were

not actually at the Eagle Ranch Location at the time of the fire and that the Proof of Loss included

equipment that was not damaged in the fire.

         45.   Mr. Lamastus actually admitted that he did not know which if any of the items

claimed on the Proof of Loss were actually damaged in the fire.

         46.   Mr. Portz testified that he had no personal knowledge about whether the equipment

on the Proof of Loss was actually at the Eagle Ranch Location prior to the fire.

         47.   After Acuity concluded its investigation, it sent a letter to LBJ notifying LBJ that
Acuity had concluded that there was no coverage under the Policy for the loss claimed because the

building was vacant more than 60 days before the fire. Further, any damage that occurred prior to

the intentionally set fire due to other vandalism would also not be covered as the building was

unoccupied more than 60 days and was not under construction or being renovated at the time of

the loss. The letter also sets forth the additional Policy exclusions for neglect and wear and tear

cited above which are also applicable as Acuity’s investigation revealed that the premises were

neglected and wear and tear was evident throughout the Eagle Ranch Location.

         48.   In addition, Acuity’s letter discussed the fact that the Proof of Loss includes items

as being damaged in the fire when in fact they were not and the Policy coverage is void where

there has been an intentional concealment or misrepresentation of a material fact concerning a

claim.

         49.   Acuity’s letter also explains the LBJ represented in its application that the car wash

business was not self-service when in fact it was and the Policy was issued based on information

that was not true when the application was submitted to it as required by the Policy and thus the

Policy conditions were not met.

                          COUNT ONE – DECLARTORY RELIEF

         50.   Acuity incorporates the allegations of paragraphs numbered 1 through 48 of the

Complaint as though fully set forth herein.



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       51.     The rights and obligations of Acuity and LBJ are in dispute and affected by the

terms and conditions of the Acuity Policy at issue and New Mexico case law.

       52.     Thus, a controversy between the parties exists regarding whether Acuity owes any

sums to LBJ for the claim submitted for damages following the fire at the Eagle Ranch Property.

       53.     As set forth above, Acuity does not owe any sums for the damages claimed on the

Proof of Loss because the Eagle Ranch Location had been vacant for more than sixty consecutive

days before the loss or damage occurred, and the Vacancy Provision of the Policy provides that

Acuity will not pay for any loss or damage caused by Vandalism where the loss or damage occurs
and the building has been vacant for more than sixty consecutive days.

       54.     Further, Acuity does not owe any sums for the damages claimed on the Proof of

Loss because LBJ intentionally concealed or misrepresented a material fact concerning the

business operations at Eagle Ranch Location when it represented that the Car Wash was not Self-

Service and failed to disclose that the building was vacant for more than a year prior to the loss.

       55.     Further, Acuity does not owe any sums for the damages claimed on the Proof of

Loss because LBJ intentionally concealed or misrepresented a material fact concerning the claim

when it claimed on its Proof of Loss that there was no change in the interest, use or occupancy of

the buildings and their contents and included equipment in the Proof of Loss that was not actually

damaged in the fire.

       56.     LBJ disagrees with Acuity’s coverage decision.

       57.     By reason of the foregoing, there now exists an actual justiciable controversy

between Acuity and LBJ as required by 28 U.S.C. § 2201. Consequently, this Court is vested with

the power to declare and adjudicate the rights and other legal relationships of all parties to the

instant litigation with respect to the issues raised by this Complaint.




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        WHEREFORE, Acuity respectfully requests that this Court declare the rights and

obligations of the parties hereto in accordance with Acuity’s contentions herein; specifically that:

        (A) Judgment be entered in Acuity’s favor and the Court enter a declaration regarding the

            rights and obligations of each of the parties with respect to the dispute herein and find

            that there is no coverage under the Acuity Policy policies for the damages claimed by

            LBJ following the fire at the Eagle Ranch Location;

        (B) Awarding Acuity such other relief, including its costs as this Court deems just and

            proper.
                                       MODRALL, SPERLING, ROEHL, HARRIS
                                         & SISK, P.A.

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